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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND

                                       :
NICOLE ACKERMAN
                                       :

     v.                                : Civil Action No. DKC 2004-0113

                                       :
TOWN OF LA PLATA, MARYLAND
                                       :


                            MEMORANDUM OPINION

     Presently pending and ready for resolution in this civil

rights case is the joint motion by Defendants Town of La Plata,

Maryland, and Harold E. Cunningham, to dismiss for failure to

permit discovery and for additional sanctions.                 (Paper 72).      The

issues have been fully briefed and the court now rules, no

hearing being deemed necessary.               Local Rule 105.6.            For the

following      reasons,    the   motion      to   dismiss    will     be   denied.

Defendants’ request for additional sanctions will be granted in

part.

I.   Background

     Plaintiff’s claims stem from a traffic stop and subsequent

arrest    on   May   31,   2003,      conducted    by     Defendant    Harold    E.

Cunningham,     an   officer     in    the   La   Plata    police     department.

Plaintiff alleges she was physically assaulted and otherwise

mistreated      by   Defendant         Cunningham       during   her       arrest.

Plaintiff’s claims include: (a) federal civil rights violations
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under 42 U.S.C. § 1983, and (b) state civil rights violations

under Article 26 of the Maryland Declaration of Rights.1

      On November 16, 2004, Magistrate Judge Day issued an order

granting in part Defendants’ joint motion to compel discovery.

(Paper 43).            Judge Day ordered Plaintiff to supplement her

earlier responses to Defendants’ interrogatories and to produce

requested documents as specified.                 On December 6, 2004, Judge

Day   issued      an    order   granting       Defendants’   motion   to   compel

Plaintiff’s deposition testimony regarding a separate lawsuit in

which Plaintiff was a party, and about which Plaintiff had

previously refused to testify.                 (Paper 45).

      Between      January      and   March     2005,    Plaintiff    failed   to

reappear for a second deposition on three separate occasions.

Plaintiff offered no explanation for her first absence.                      With

regard to her second and third absences, Plaintiff notified

Defendants a few hours prior to the scheduled times that she

would not be able to attend, once due to sickness and once due




      1Plaintiff asserts these claims against Defendants Town of
La Plata and Cunningham. In her complaint, (paper 1), Plaintiff
also asserted claims of false imprisonment, false arrest,
defamation per se, assault, and battery against Defendant
Cunningham.    On July 27, 2005, the court granted summary
judgment to Defendant Cunningham on these latter claims. (Paper
64). The only remaining claims are the federal and state civil
rights violations.

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to    her     counsel’s    imminent     withdrawal.2       With   regard    to

supplementing        her   answers    to    Defendants’    interrogatories,

Plaintiff sent defense counsel incomplete and unexecuted answers

on   or     around   February   18,   2005.     Plaintiff’s    response    was

substantively insufficient, and did not, for example, include

specific or complete information on lost wages, medical bills,

or other damages related to the incident in question.                On March

7    and    March    23,   2005,   counsel     for   Defendants    wrote    to

Plaintiff’s counsel and requested executed answers. Plaintiff’s

counsel did not respond.

      Based on Plaintiff’s failure to appear for three scheduled

depositions and to supplement answers to their interrogatories,

Defendants filed a motion to dismiss on April 1, 2005.                On July

27, 2005, the court denied Defendants’ motion, but, recognizing

that seven months had passed since Judge Day granted Defendants’

two motions to compel, found that some lesser sanction                     was

appropriate.         (Papers 63, 64).       The court directed Plaintiff,

within ten days, to “comply fully” with Judge Day’s order of

November 16, 2004, which identified the interrogatory responses

to be supplemented and the documents to be produced.                 Assuming

Defendants still desired to depose Plaintiff, the court ordered

Plaintiff to appear for a deposition within twenty days of the


      2    Plaintiff’s former counsel withdrew on March 29, 2005.

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date    on   which    her     interrogatory           responses         were    served     on

Defendants.      Although the court found that dismissal was not an

appropriate     sanction          at    that   time,    the       court      unambiguously

stated: “Plaintiff is hereby on notice that further refusal to

comply with Defendants’ discovery requests and this Order may

result in the dismissal of her case.”

       Plaintiff      did     not       provide      supplemental            responses     to

Defendants’     interrogatories            within      ten    days      of    the    court’s

Order.       Plaintiff filed supplemental answers to Defendants’

interrogatories on September 12, 2005, (paper 71), the day of

her rescheduled deposition, but the responses were incomplete

and unsigned.        On September 21, 2005, Defendants filed a second

motion to dismiss for failure to permit discovery, and requested

additional sanctions.             Plaintiff’s response to this motion was

due on October 11, 2005; Plaintiff failed to respond.                                      On

October 18, 2005, the court ordered Plaintiff to show cause why

this   case    should       not    be    dismissed.          On    November         1,   2005,

Plaintiff responded to the show cause Order, but did not offer

any explanation for her failure to comply with the court’s July

27, 2005 Order, or to respond to Defendants’ motion to dismiss.

Instead, Plaintiff filed a one-page opposition memorandum to

Defendants’ motion to dismiss.                     In the memorandum, Plaintiff’s

counsel      first   states        that    because       he       did   not     enter     his


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appearance    for   Plaintiff     until   June   17,        2005,    and   all

“activities   complained     of   by    Defendants     in    their    Motion”

occurred before that date, he is not responsible.                     Second,

Plaintiff states: “Counsel ha[s] made every attempt to answer

all of opposing counsel’s discovery request[s] and has requested

by letter to counsel that he forward any renewed requests to our

office.”




II.   Motion to Dismiss

      Fed.R.Civ.P. 37(d) provides:

           If a party . . . fails (1) to appear before
           an officer who is to take the deposition,
           after being served with a proper notice, or
           (2) to serve answers or objections to
           interrogatories submitted under Rule 33,
           after proper service of the interrogatories,
           or (3) to serve a written response to a
           request for inspection submitted under Rule
           34, after proper service of the request, the
           court in which the action is pending on
           motion may make such orders in regard to the
           failure as are just, and among others it may
           take    any    action    authorized    under
           subparagraphs   (A),   (B),   and   (C)   of
           subdivision (b)(2) of this rule.

The possible sanctions referred to are:

           (A) An order that the matters regarding
           which the order was made or any other
           designated facts shall be taken to be
           established for the purposes of the action



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          in accordance with the claim of the party
          obtaining the order;

          (B)   An   order   refusing to   allow the
          disobedient party to support or oppose
          designated     claims   or   defenses,  or
          prohibiting that party from introducing
          designated matters in evidence;

          (C) An order striking out pleadings or parts
          thereof, or staying further proceedings
          until the order is obeyed, or dismissing the
          action or proceeding or any part thereof, or
          rendering a judgment by default against the
          disobedient party[.]

Fed.R.Civ.P. 37(b).           Defendants have requested this court to

impose   one   of       the   more    severe    sanctions   –    dismissal   of

Plaintiff’s    case.          The    drastic    sanction    of   dismissal   is

authorized, but may not be imposed except in the most compelling

circumstances.          The court must apply a four-factor test to

determine if such circumstances exist:

          (1) whether the noncomplying party acted in
          bad faith; (2) the amount of prejudice his
          noncompliance caused his adversary, which
          necessarily includes an inquiry into the
          materiality of the evidence he failed to
          produce; (3) the need for deterrence of the
          particular sort of noncompliance; and (4)
          the effectiveness of less drastic sanctions.
          [Wilson v. Volkswagen of America, Inc., 561
          F.2d 494,] 503-06 [(4th Cir. 1977)].

Mutual Fed. Sav. & Loan Ass’n v. Richards & Assocs., Inc., 872

F.2d 88, 92 (4th Cir. 1989).
    Although        a    severe      sanction   is   appropriate,     complete

dismissal will not be granted at this time because a less


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drastic sanction is available to address Plaintiff’s conduct.

See Mutual Fed. Sav. & Loan Ass’n, 872 F.2d at 92 (stating that

the   court’s   “desire    to    enforce      its     discovery    orders     is

confronted head-on by the party’s rights to a trial by jury and

a fair day in court”).      The court directed Plaintiff to comply

fully with Judge Day’s November 17, 2004, Order within ten days,

which Plaintiff failed to do.         On September 12, 2005, Plaintiff

was deposed and finally attempted to comply with Judge Day’s

other Order, but provided unsigned and incomplete supplemental

responses to Defendants’ interrogatories, and failed to provide

all requested documents.         Although Plaintiff never directly

states a reason for her incomplete and untimely filing, in her

November 1, 2005, opposition memorandum, Plaintiff’s counsel

argues that he is not responsible for acts that transpired prior

to his assumption of the case (i.e., prior to June 17, 2005),

and that Plaintiff has “made every attempt” to answer all of

opposing    counsel’s   discovery         requests.      This     response    is

insufficient and contradicts the record.

      Plaintiff’s   counsel     is   incorrect      in   characterizing      the

substantive allegations in Defendants’ motion to dismiss as

involving only events and actions that took place prior to June

17, 2005.    Defendants’ renewed motion to dismiss is in direct

response to Plaintiff’s failure to comply with the court’s July

27, 2005, order, and her continued failure to provide complete




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answers to interrogatories and requested documents.3               Plaintiff

still has not provided specific information regarding medical

costs incurred and other damages resulting from the incident at

issue.     In addition, the evidence shows that Plaintiff has not

“made every attempt” to answer all of the outstanding discovery

requests.       Following     the   court’s     July     27,   2005,   order,

Defendants sent Plaintiff’s counsel a letter on August 11, 2005,

specifying the previous filings he should refer to in order to

determine     which    discovery    responses     were     inadequate,     and

attaching the previous inadequate responses.              Plaintiff did not

respond.      On September 1, 2005, an assistant to Plaintiff’s

counsel sent a letter requesting another copy of the inadequate

interrogatory responses and inquiring about what answers needed

supplementing.      On September 12, 2005, Plaintiff filed unsigned,

incomplete responses to Defendants’ interrogatories, and failed

to provide all requested documents.             On September 30, 2005,

Plaintiff sent a second letter requesting a “list of those

requests for which [Defendants felt] we have not been fully

responsive,” despite the fact that this information is and has

been accessible on the court’s electronic filing system.

    To date, Plaintiff has provided unsigned, incomplete, and

inconsistent     responses    to    interrogatories      and   virtually    no



    3  For example, in a September 12, 2005, filing, Plaintiff
states that with regard to Interrogatories 14 and 24, relating
to damages incurred: Plaintiff’s counsel is “still gathering
information” and “collecting data,” and Plaintiff will provide
the information “as soon as possible.”

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documentation          to   support    her       claim    for    damages       and   costs

incurred as a result of the incident in question.4                       In accordance

with       Fed.R.Civ.P.     37(b),    Plaintiff          will   be   prohibited      from

introducing evidence related to those areas in which she has

failed       to   provide     discovery.           Specifically,         Plaintiff      is

prohibited from introducing any evidence regarding:                        (a) medical

and    any     other    expenses      incurred      as     a    result    of    injuries

allegedly related to the incident in question, and (b)pecuniary

and    non-pecuniary        damages,    including          attorneys’      fees,     that




       4
       There are multiple inconsistencies in the record.     For
example, in Plaintiff’s supplemental interrogatory responses of
February 18, 2005, Plaintiff states that prior to the incident,
she received treatment from Dr. Hussein for depression. A later
supplemental response states Plaintiff received treatment from
Drs. Torres, Hussein, and Simon. No documentation or written
interrogatory response is provided regarding the details of
Plaintiff’s “pre-incident” treatment from any of these doctors
(e.g., dates of visits, medical records, bills, etc.).      With
regard to treatment Plaintiff received following the incident,
there are also inconsistent responses. In her initial response
to Defendants’ interrogatories, Plaintiff states she received
care at Civista Hospital Center. In an August 19, 2004, letter
from Plaintiff’s former attorney to defense counsel, the
attorney states that Plaintiff may also have received treatment
from Drs. Jaffe, Simon, Dillallo, Crivelli, Torres, and DuPuiff.
In her third response to Defendants’ interrogatories, Plaintiff
states she received post-incident treatment only from Drs.
Torres, Hussein, and Simon. Despite the fact that Defendants
requested and Judge Day ordered Plaintiff to provide “the full
details   of  each   medical,   psychiatric,  or   psychological
examination, treatment, or hospitalization [Plaintiff] underwent
on or after the date of the occurrence,” including the condition
for which she sought treatment, the diagnosis, and the
prognosis, she still has not provided this information.

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Plaintiff claims to have sustained as a result of the alleged

incident.5

       Though the court recognizes that this sanction is severe,

“ignoring the direct order[] of the court with impunity                           . . .

must obviously be deterred.”                 Mutual Fed. Sav. & Loan Ass’n, 872

F.2d       at   93.      As   the    Fourth    Circuit    noted,     not   only   does

Plaintiff jeopardize Defendants’ case through her noncompliance,

if the court ignored Plaintiff’s “bold challenges to [its] power

[it] would encourage other litigants to flirt with similar

misconduct.”            Id. at 92.      Plaintiff’s inexcusable failure to

comply with an Order of this court and her continued failure to

provide discovery must be sanctioned so that similar misconduct

is not encouraged in the future.

III.       Request for Additional Sanctions

       Defendants request the court to order Plaintiff to pay

reasonable expenses for her willful failure to permit discovery.

Defendants        argue       that   they     are   entitled    to    expenses      and

reasonable            attorneys’      fees     incurred    in   connection         with

“corresponding with Plaintiff’s counsel regarding outstanding

discovery, preparing various motions to compel, preparing for

and attending depositions to which Plaintiff inexplicably failed



       5
      Document request 5 asks Plaintiff to provide “[a]ll bills,
statements invoices, or other documents of any description that
evidence any loss or damage, including attorney’s fees, that
[Plaintiff] contends [she] sustained” as a result of the
incident. Plaintiff has not produced any of this information
despite Judge Day’s direct order.

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to     appear,   and    the    motions       for     sanctions    for   Plaintiff’s

continuous failure to permit discovery.”

       Fed.R.Civ.P. 37(d), which addresses the failure of a party

to attend their deposition, serve answers to interrogatories, or

respond to a request for inspection, states: “[T]he court shall

require the party failing to act or the attorney advising that

party    or    both     to    pay    the    reasonable     expenses,      including

attorney’s fees, caused by the failure unless the court finds

that    the   failure    was    substantially         justified    or   that   other

circumstances make an award of expenses unjust.”                          See also

Fed.R.Civ.P. 37(b) (providing for similar sanction for failure to

comply with a court order).                Plaintiff’s failure to appear for

three depositions and her noncompliance with multiple court

Orders justify monetary sanctions.                 Plaintiff inexcusably failed

to attend her January 31, 2005, deposition.                        Plaintiff also

failed to attend two subsequent rescheduled depositions, and,

although Plaintiff did give excuses on these occasions, she

provided      minimal    notice.           The   court   will     therefore    grant

Defendants’      reasonable         expenses,      including     attorneys’    fees,

associated       with   Plaintiff’s         missed    depositions.        Based   on

Plaintiff’s failure to comply with Judge Day’s Order and with

this court’s Order of July 27, 2005, the court will also award

reasonable expenses, including attorneys’ fees, associated with

the preparation and filing of Defendants’ motion to dismiss and

for additional sanctions (paper 72).                Accordingly, Defendants are

directed to file a properly supported petition to support their


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fees and expenses.    In light of the other sanctions imposed, as

well as Plaintiff’s earlier “irreconcilable differences” with

former counsel and the substitution of new counsel in June 2005,

the court will deny Defendants’ request for fees and expenses

related to their initial motions to compel and for expenses

related to correspondence with Plaintiff’s counsel.           A separate

Order will follow.




                                              /s/
                                      DEBORAH K. CHASANOW
                                      United States District Judge
